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5    Attorney for Defendant
     COLIN RYAN-BARBOUR
6

7                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,               )   Case No.: 2:16 CR 039 JAM
                                             )
10                     Plaintiff,            )   STIPULATION AND ORDER MODIFYING THE
                                             )   (INFORMAL) OBJECTION SCHEDULE IN THIS
11   vs.                                     )   MATTER
                                             )
12   YANEZ-BARBER et al.,                    )   Date:     January 29, 2019
                                             )   Time:     9:15 a.m.
13                     Defendants.           )   Judge:    Honorable John A. Mendez
                                             )
14

15         The parties hereby stipulate the following:

16
           1. Judgment and sentencing in this matter is presently set for January
17
              29, 2019.     This modification seeks to change only the due date for
18
              defendant’s informal objections.        The remaining due dates noted
19
              below have been previously established and are unchanged. Assistant
20
              U.S. Attorney Jason Hitt has been advised of this request and has no
21
              objection.    U.S. Probation has also been advised of this request and
22
              has no objection.    The parties request the Court adopt the following
23
              schedule pertaining to the presentence report:
24
              Judgment and Sentencing date:                                  1/29/19
25
              Reply, or Statement of Non-Opposition:                         1/22/19
26
              Motion for Correction of the Presentence Report
27            shall be filed with the Court and served on the
              Probation Officer and opposing counsel no later
28            than:                                                          1/15/19



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              The Presentence Report shall be filed with the
2             Court and disclosed to counsel no later than:               1/8/19

3             Counsel’s written objections to the Presentence
              Report shall be delivered to the probation officer
4             and opposing Counsel no later than:                         12/27/18

5             The Presentence Report shall be filed with the
              Court and disclosed to counsel no later than:               n/a
6
           IT IS SO STIPULATED.
7

8    Dated: December 20, 2018                    /s/ John R. Manning
                                                 JOHN R. MANNING
9                                                Attorney for Defendant
                                                 Colin Ryan-Barbour
10

11
     Dated: December 20, 2018                    McGregor W. Scott
12                                               United States Attorney

13                                               /s/ Jason Hitt
                                                 JASON HITT
14                                               Assistant United States Attorney

15
                                         ORDER
16

17        The Court, having received, read, and considered the stipulation of the
18   parties, and good cause appearing therefrom, adopts the stipulation of the
19   parties in its entirety as its order.   IT IS SO FOUND AND ORDERED this 20th
20   day of December, 2018.
21
                                                 /s/ John A. Mendez____________
22                                               HONORABLE JOHN A. MENDEZ
                                                 UNITED STATES DISTRICT COURT JUDGE
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